
This matter having come before the Court on the State's appeal, by leave granted, from the Appellate Division's order reversing the trial court's determination to detain defendant pretrial, State v. [S.N.], No. A-3140-16 (App. Div. Apr. 25, 2017); and
The Court having imposed a stay of the Appellate Division's order releasing defendant; and
The Court having heard oral argument on the State's appeal on September 11, 2017; it is
ORDERED that the Court's order staying the Appellate Division's order is vacated. Pending the outcome of the State's appeal to the Supreme Court, which remains open, the trial court may enforce the Appellate Division's order reversing the order for defendant's pretrial detention, including establishing the schedule for defendant to report "as necessary to determine his compliance with restraining orders."
